      Case: 1:03-cv-04265 Document #: 71 Filed: 10/20/05 Page 1 of 1 PageID #:280
AO 450(Rev. 5/85)Judgment in a Civil Case


                             United States District Court
                                    Northern District of Illinois
                                            Eastern Division



 CROSS                                                     JUDGMENT IN A CIVIL CASE
                      v.                                              Case Number: 03 C 4265
 WEBER et al

 O          Jury Verdict. This action came before the Court for a trial by jury. The issues have been
            tried and the jury rendered its verdict.
 G          Decision by Court. This action came to trial or hearing before the Court. The issues
            have been tried or heard and a decision has been rendered.



 IT IS HEREBY ORDERED AND ADJUDGED that judgment is entered in favor of
 defendants Weber et al and against plaintiff Cross. This action is dismissed in its entirety.




                                                  Michael W. Dobbins, Clerk of Court


 Date: 10/20/2005                                 /s/ J. Smith, Deputy Clerk
